              Case 2:18-cr-00131-RAJ Document 1471 Filed 10/16/20 Page 1 of 1




1                                                                 The Honorable Richard A. Jones
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4
5                            UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
6
                                         AT SEATTLE
7
       UNITED STATES OF AMERICA,                         NO. 18-CR-00131-RAJ
8
                                 Plaintiff
9
                            v.                           ORDER GRANTING
10
                                                         STIPULATED BRIEFING
       BRADFORD STREET,
11                                                       SCHEDULE
12                               Defendant.

13
             The Court, having reviewed the Stipulated Motion of the Parties proposing
14
     a briefing schedule for the defendant’s motion for reduction in sentence, hereby states as
15
     follows:
16
             IT IS ORDERED that the parties’ Stipulated Motion (Dkt. #1469) is GRANTED.
17
     The briefing schedule is as follows:
18
             a.       The government’s response to the motion shall be filed on or before
19
     October 29, 2020;
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             b.       Any reply shall be filed on or before November 5, 2020; and
21
             c.       The matter is noted for November 6, 2020.
22
23
             DATED this 16th day of October, 2020.
24
25
26
                                                        A
                                                        The Honorable Richard A. Jones
27                                                      United States District Judge
28
      ORDER                                                                UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
      United States v. Street, 18-CR-131-RAJ - 1
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
